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                              U.S. DISTRICT COURT
                            DISTRICT OF NEW MEXICO


JOHN VIGIL,

      Plaintiff,

v.                                              Case No. 1:18-CV-00829-SCY-JFR

FRANCES TWEED, et al.,

      Defendants.


                            CERTIFICATE OF SERVICE

      I hereby certify that on this 26th day of June 2020, I served by email the State

Defendants’ Initial Disclosures, including documents with Bates labels State

Defendants 1 through 1481 to the following counsel of record:

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      I FURTHER CERTIFY that I filed this Certificate of Service as more fully

reflected on the Notice of Electronic Filing.
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